                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE:                                           Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                           Chapter 11

                     Debtor.                     Honorable Mark A. Randon



                    THIRD OMNIBUS OBJECTION
        OF THE HFV LIQUIDATING TRUST TO (A) AMENDED OR
            SUPERSEDED CLAIMS, (B) DUPLICATE CLAIMS,
     (C) NO LIABILITY CLAIMS, AND (D) CLAIMS TO BE MODIFIED

         The HFV Liquidating Trust (the “Trust”), as successor to Henry Ford Village,

Inc. (the “Debtor” or “Henry Ford Village”), pursuant to section 502 of the

Bankruptcy Code, Rules 3003 and 3007 the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), Rules 3007-1 and 9013-2 of the Local Rules (the “Local

Bankruptcy Rules”), and that certain Order (I) Approving Procedures for Filing

Omnibus Objections to Claims, (II) Approving the Form and Manner of the Notice

of Omnibus Objections, and (III) Granting Related Relief [Docket No. 771]

(the “Objection Procedures Order”),1 hereby files its third omnibus objection to




1
    Capitalized terms used but not defined herein shall have the meanings ascribed to
    them in the Objections Procedures Order.


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Claims (the “Third Objection”), and in support thereof, respectfully states as

follows:


                                  Relief Requested

         1.   By this Third Objection, the Trust seeks an order, substantially in the

form attached hereto as Exhibit A, (a) disallowing and expunging the Claims

identified on Schedule 1 to Exhibit A (collectively, the “Amended Claims”)

because the Claims have been amended by subsequently filed Proofs of Claim,

(b) disallowing and expunging the Claims identified on Schedule 2 to Exhibit A

(collectively, the “Duplicate Claims”) because they are duplicates of other Proofs of

Claim filed by or on behalf of the same claimant in respect of the same liabilities,

(c) disallowing and expunging the Claims identified on Schedule 3 to Exhibit A

(collectively, the “No Liability Claims”) because the claims seek recovery of amount

for which the Trust is not liable, and (d) modifying and/or reclassifying the Claims

identified on Schedule 4 to Exhibit A (collectively, the “Modified Claims”) because

such Claims showed a record of indebtedness or priority that is not reflected on the

Debtor’s books and records or asserted a priority not supported under the Bankruptcy

Code.




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                               Jurisdiction and Venue

         2.   The United States Bankruptcy Court for the Eastern District of

Michigan (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334.

         3.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.   The bases for the relief requested herein are section 502 of title 11 of

the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), Rules

3003 and 3007 the Bankruptcy Rules, and Rules 3007-1 and 9013-2 of the Local

Bankruptcy Rules.

                        The Claims Reconciliation Process

         5.   On the Effective Date, the Trust was formed pursuant to the confirmed

chapter 11 plan (the “Plan”) as the successor to the Debtor responsible for

administering the Debtor’s remaining assets. One of the primary tasks the Trust

must undertake in that regard is the reconciliation of Claims asserted against the

Debtor’s estate to determine what Claims should be allowed and therefore entitled

to distribution pursuant to the Plan.

         6.   To date, approximately 419 Proofs of Claim have been filed and

approximately 2,592 scheduled Claims appear on the Debtor’s schedules. Because

of the large number of Claims in this case, the Trust sought and has been granted




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approval to file omnibus objections to certain Claims in accordance with the

Objection Procedures Order.

         7.   The Trust has engaged in an extensive outreach process to certain

holders of Class 2 General Unsecured Claims in an attempt to resolve any differences

that became apparent in the Claims reconciliation process. The Trust contacted

holders of Claims that it determined were either residents or former residents and

offered to enter into consensual stipulations that voluntarily modified the Claims to

match the Debtor’s schedules and provided for the withdrawal of duplicative and

amended Claims. As a result of this process, the Trust has entered into sixty-nine

(69) stipulations resolving 159 Claim disputes.

         8.   On June 6, 2022, the Trust filed the First Omnibus Objection of the

HFV Liquidating Trust to (A) Amended or Superseded Claims, (B) Duplicate

Claims, and (C) Certain No Liability Claims [Docket No. 779] (the “First

Objection”), and on June 14, 2022, the Trust filed the Second Omnibus Objection of

the HFV Liquidating Trust to (A) No Liability Claims, (B) Satisfied Claims, and

(C) Claims to be Modified [Docket No. 791] (the “Second Objection” and,

collectively with the First Objection, the Omnibus Objections”). The Omnibus

Objections are currently set for hearing on July 20, 2022.

         9.   The Claims subject to this Third Objection are Claims that the Trust has

determined are the Claims of residents and former residents. The majority of the


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Claims arise from significant entrance fee payments (the “Entrance Fees”) made by

residents as a condition of living at Henry Ford Village pursuant to the terms of their

residency agreements (the “Residency Agreements”). Pursuant to the Residency

Agreements, Henry Ford Village agreed to refund the Entrance Fees (the “Entrance

Fee Refunds”) to the resident, or their designated beneficiaries once certain specified

conditions were met. Most relevantly, Entrance Fee Refunds were conditioned on a

new resident paying an Entrance Fee and taking occupancy of the former resident’s

unit.

         10.   The Trust engaged in its extensive outreach to creditors owed Entrance

Fee Refunds in an attempt to resolve discrepancies between the filed Claims and the

Debtor’s bankruptcy schedules to provide a fair and equitable process for these

Claimants and reduce the administrative expense litigating these Claims. However,

the Trust was not able to resolve all claim disputes consensually. Accordingly, while

the Trust will continue to work with parties to resolve Claim disputes prior to the

hearing date, the Claims subject to this Third Objection require resolution by the

Bankruptcy Court.

         11.   By this Third Objection, the Trust now seeks approval to disallow and

expunge or modify certain Claims for the reasons set forth below.




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                                      Objection

         12.   Pursuant to section 502(a) of the Bankruptcy Code, a filed proof of

claim is deemed allowed unless a party in interest objects thereto. See 11 U.S.C.

§ 502(a). Bankruptcy Rule 3007 provides certain grounds upon which “objections

to more than one claim may be joined in an omnibus objection.” Bankruptcy Rule

3007(d). The Objection Procedures Order expands upon Bankruptcy Rule 3007(d)

and permits the Trust to file an omnibus objection on additional grounds.

         13.   As described in Bankruptcy Rule 3001(f), a properly executed and filed

proof of claim is prima facie evidence of the validity and the amount of the claim

under Bankruptcy Code 502(a). To maintain its prima facie validity, however, the

claimant must allege sufficient facts to support its claim. In re McLaughlin, 320

B.R. 661, 665 (N.D. Ohio 2005) (citing In re Allegheny Int’l, Inc., 954 F.2d 167,

173-74 (3d Cir. 1992)); see also In re Dow Corning Corp., 250 B.R. 298, 321

(Bankr. E.D. Mich. 2000) (observing that supporting documentation was needed for

a proof of claim to valid prima facie). If an objection refuting at least one of the

claim’s essential allegations is asserted, the claimant has the burden to demonstrate

the validity of the claim. See, e.g., In re Central Processing Services, LLC, 606 B.R.

712, 715 (Bankr. E.D. Mich. 2019); Sherman v. Novak (In re Reilly), 245 B.R. 768,

773 (B.A.P. 2d Cir. 2000).




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         14.   Pursuant to Bankruptcy Rule 3007 and the Objection Procedures Order,

the Trust files this Third Objection to the Claims listed on Schedules 1 - 4 to

Exhibit A on the bases set forth below.

         A.    Amended Claims

         15.   The Trust objects to the Claims listed in the column labelled “Claims

to be Disallowed” on Schedule 1 to Exhibit A because the Trust has determined

that these Claims have been amended and superseded by subsequently filed Proofs

of Claim by the same claimant on account of the same liability. Disallowance or

expungement of the Amended Claims will not affect the Claims identified in the

column labelled “Remaining Claims” on Schedule 1 to Exhibit A, which will

remain on the claims register maintained in this chapter 11 case (the “Claims

Register”) unless withdrawn by the applicable claimants or otherwise disallowed by

the Court, subject to the Trust’s right to object to such surviving Claim in the future

on any grounds permitted by applicable law. Accordingly, the Trust requests that

the Court disallow and expunge the Amended Claims from the Claims Register.

         B.    Duplicate Claims

         16.   The Trust objects to the Duplicate Claims listed in the column labelled

“Claims to be Disallowed” on Schedule 2 to Exhibit A because the Trust has

determined that they are substantively or exactly duplicative of other Proofs of Claim

filed by or on behalf of the same claimant (or a successor thereto) for the same


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underlying liability. Failure to disallow the Duplicate Claims may result in a double

recovery to the claimants at the expense of other creditors. Moreover, disallowance

of these Duplicate Claims will enable the Claims Register to reflect more accurately

the Claims asserted against the Trust.       Disallowance or expungement of the

Duplicate Claims will not affect the “Remaining Claims” listed on Schedule 2,

which will remain on the Claims Register unless withdrawn by the relevant

claimants or otherwise disallowed by the Court, subject to the Trust’s right to object

to the surviving Claims in the future on any grounds permitted by applicable law.

Accordingly, the Trust requests that the Court disallow and expunge the Duplicate

Claims from the Claims Register.

         C.    No Liability Claims

         17.   The Trust objects to the No Liability Claims on Schedule 3 because the

Trust has determined that the obligations asserted in the No Liability Claims seek

recovery of amounts for which the Trust is not liable because the Claim is either

payable by a different entity or because the Trust has already paid or otherwise

satisfied the liability asserted in the Claim. The specific grounds for the finding of

no liability for each No Liability Claim is included in Schedule 3.

         18.   In summary, certain Claims on Schedule 3 are Claims that the Trust

has determined are Claims filed by residents of Henry Ford Village who entered into

a Lease Addendum with the Purchaser. Pursuant to section 5.1 of the Plan, if a


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current resident executed a Lease Addendum, their Residency Agreement was

deemed cured and such resident waived their right to a distribution from the Debtor’s

bankruptcy estate. Accordingly, the Trust asserts that it has no liability on account

of such Claims.

         19.   Certain other Claims on Schedule 3 are Claims that the Trust has

determined are Claims filed by residents of Henry Ford Village who were party to

rental agreements with the Debtor, which required such residents to provide a

security deposit.2 These security deposits were held in a segregated bank account

which was transferred to HFV OpCo (the purchaser of Henry Ford Village) prior to

the Effective Date. HFV OpCo has represented to the Trust that it will return

security deposits to the residents following the termination of their leases.

         20.   Finally, certain other Claims on Schedule 3 provide insufficient

supporting documentation, seek payment for indebtedness of which the Trust has no

records, were not timely-filed, or were not filed by the named beneficiary in the

underlying Residency Agreement. The Trust has reviewed such Claims and has

been unable to verify that such Claims are valid. Accordingly, the Trust asserts that

it is not liable for such Claims.



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    These rental agreements are different from the Residency Agreements, which
    required payment of an Entrance Fee as a condition of residency. Entrance Fees
    were not security deposits held in a segregated account but were used to fund
    operations and debt service at Henry Ford Village prior to the bankruptcy filing.

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         21.   Accordingly, to prevent an unwarranted recovery by the claimants

asserting the No Liability Claims to the detriment of other creditors, the Trust

requests that the Court disallow and expunge the No Liability Claims from the

Trust’s Claim Register.

         D.    Claims to be Modified and Allowed

         22.   The Trust objects to the Modified Claims on Schedule 4 to Exhibit A

because the Trust has determined that each Modified Claim showed a record of

indebtedness that is inconsistent with the Debtor’s books and records and/or asserted

a priority under the Bankruptcy Code that is not applicable to such Claim. The Trust

accordingly seeks to modify the Claims to be consistent with the Debtor’s books and

records.

         23.   Specifically, certain of the Claims on Schedule 4 are inconsistent with

the amount owed according to the Debtor’s books and records. Most commonly,

these inconsistencies arise because the Claims fail to account for certain fees and

charges that the Debtor was entitled to deduct from the Entrance Fee Refund

pursuant to the Residency Agreements. The Trust has reviewed such Claims and

believe that the reduced amount on Schedule 4 is the correct amount the Trust owes

on account of such Claims.

         24.   Certain other Claims on Schedule 4 assert a priority claim under section

507(a)(7) of the Bankruptcy Code, which grants a priority for “allowed unsecured


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claims of individuals, to the extent of $3,025…arising from the deposit, before the

commencement of the case, of money in connection with the purchase, lease, or

rental of property, or the purchase of services, for the personal, family, or household

use of such individuals, that were not delivered or provided.” 11 U.S.C. 507(a)(7).3

Many claimants with Claims arising from Entrance Fee Refunds asserted a priority

claim under section 507(a)(7). However, Entrance Fees are not the sort of deposit

covered by section 507(a)(7). Unlike a traditional security deposit which a landlord

is required to escrow in a segregated account and required to return at the end of a

lease, the Entrance Fees were not permanently escrowed or held in a segregated

account but instead were deposited into the Debtor’s general operating account and

used to pay operating expenses. The Entrance Fees are not like traditional security

deposits, but instead more like membership deposits or initiation fees that are paid

to join a community or club. Several courts faced with this issue have held that such

initiation fees are not entitled to priority under section 507(a)(7). See, e.g., In re

Four Star Financial Services, LLC, 469 B.R. 30, 35 (C.D. Cal. 2012) (claim not

entitled to 507(a)(7) priority where initiation fee immediately entitled claimant to

use of property); In re Palmas del Mar Country Club, Inc., 443 B.R. 569, 574



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    The cap on the section 507(a)(7) was increased to $3,350 on April 1, 2022.
    However, pursuant section 104(c) increases do not apply to cases commenced
    before the date of such adjustments. The 507(a)(7) priority cap effective during
    this case was $3,025.

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(Bankr. D. P.R. 2010) (membership deposits with conditions to repayment,

including condition that membership deposits were subsequently sold, were not

deposits with purview of section 507(a)(7)).

         25.   Accordingly, the Modified Claims are ineligible for the asserted

priority and should be reclassified as a general unsecured claim.

         26.   Failure to adjust the Modified Claims could result in the relevant

claimant receiving an unwarranted recovery against the Trust at the expense of other

creditors.     Accordingly, the Trust respectfully request the entry of an order

modifying and/or reclassifying each Modified Claim in the amount and priority

listed in the column labelled “Modified Claim” on Schedule 4 to Exhibit A.

                                        Notice

         27.   Pursuant to the Omnibus Claim Objection Procedures, the Bankruptcy

Court approved the form of notice attached hereto as Exhibit B. The Trust will

provide (a) a customized notice of this Third Objection to each affected claimant

party set forth on each Claim subject to this Third Objection or their respective

attorney of record, and (b) form of notice of the Third Objection to all entities that

have filed a request for notice pursuant to Bankruptcy Rule 2002. The Trust submits

that no other or further notice need be provided.




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                                   No Prior Request

         28.   The Trust has previously filed the First and Second Objections. No

prior request for the relief sought in this Third Objection has been made to this or

any other court.

         WHEREFORE, the Trust respectfully requests that the Court enter the Order

granting the relief requested herein and such other relief as the Court deems

appropriate under the circumstances.


Dated: June 17, 2022                  Respectfully submitted,

                                      By: /s/ Eric E. Walker

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                                   Exhibit A

                               Proposed Order




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                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

IN RE:                                           Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                           Chapter 11

                     Debtor.                     Honorable Mark A. Randon



         ORDER SUSTAINING THIRD OMNIBUS OBJECTION
      OF THE HFV LIQUIDATING TRUST TO (A) AMENDED OR
   SUPERSEDED CLAIMS, (B) DUPLICATE CLAIMS, (C) CERTAIN NO
       LIABILITY CLAIMS, AND (D) CLAIMS TO BE MODIFIED

         Upon the objection (the “Third Objection”) of the HFV Liquidating Trust

(the “Trust”), for entry of an order (this “Order”), (a) disallowing the Claims as set

forth on Schedules 13 attached hereto, and (b) modifying and/or reclassifying the

claims listed on Schedule 4 attached hereto as more fully set forth in the Third

Objection; and this Court having jurisdiction over this matter pursuant to 28 U.S.C.

§§ 157 and 1334; and that this Court may enter a final order consistent with Article

III of the United States Constitution; and this Court having found that venue of this

proceeding and the Objection in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that the relief requested in the Third Objection

is in the best interests of the Trust, its creditors, and other parties in interest; and this

Court having found that the Trust’s notice of the Third Objection and opportunity

for a hearing on the Third Objection were appropriate under the circumstances and

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no other notice need be provided; and this Court having reviewed the Third

Objection and having heard the statements in support of the relief requested therein

at a hearing before this Court (the “Hearing”); and this Court having determined that

the legal and factual bases set forth in the Third Objection and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings held

before this Court; and after due deliberation and sufficient cause appearing therefor,

it is HEREBY ORDERED THAT:

         1.   The Third Objection is sustained as set forth herein.

         2.   The Amended Claims set forth on the attached Schedule 1 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 1 attached hereto in the column titled

“Remaining Claims.”

         3.   The Duplicate Claims set forth on the attached Schedule 2 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 2 attached hereto in the column titled

“Remaining Claims.”

         4.   The No Liability Claims set forth on Schedule 3 are disallowed and

expunged in their entirety.

         5.   The Modified Claims are hereby modified as reflected in the column

titled “Modified Claims” on Schedule 4 to this Order. The Modified Claims will


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remain on the claims register maintained by the Trust (the “Claims Register”) and

such Claims and remain subject to future objection on any basis.

         6.   Each objection by the Trust to each Claim addressed in the Third

Objection as identified in Schedules 1–4 constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate

order with respect to each Claim. Any stay of this Order pending appeal by any

claimant subject to this Order shall only apply to the contested matter that involves

such claimant and shall not act to stay the applicability or finality of this Order with

respect to the other contested matters covered hereby.

         7.   The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

         8.   Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.

         9.   Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Third Objection; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of


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the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s rights under the

Bankruptcy Code or any other applicable law. Any payment made pursuant to this

Order should not be construed as an admission as to the validity, priority, or amount

of any particular claim or a waiver of the Trust’s right to subsequently dispute such

claim.

         10.   The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Third Objection.

         11.   This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.




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                                   Exhibit B

                                     Notice




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                   UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IN RE:                                          Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                          Chapter 11

                     Debtor.                    Honorable Mark A. Randon



                NOTICE OF THE HFV LIQUIDATING TRUST’S
                 THIRD OMNIBUS OBJECTION TO CLAIMS

       On June 17, 2022, the HFV Liquidating Trust (the “Trust”)4 filed the Third
Omnibus Objection of The HFV Liquidating Trust to (A) Amended or Superseded
Claims, (B) Duplicate Claims, (C) Certain No Liability Claims, and Claims to be
Modified [Docket No. __] (the “Third Omnibus Objection”) with the Court attached
hereto as Exhibit 1. By the Third Omnibus Objection, the Trust is objecting to
certain claims, including the claim(s) described on Exhibit 2.

      Your claim may be reduced, modified, or disallowed. You should read
these papers carefully and discuss them with your attorney, if you have one.

      If you do not want the court to disallow or modify your claim, then on or
before July 13, 2022 (the “Objection Deadline”), you or your lawyer must:

               1.    File a written response (a “Response”) to the objection,
         explaining your position. Your Response must be sent to:

                                U.S. Bankruptcy Court
                               Eastern District of Michigan
                                  211 West Fort Street
                                     Courtroom 1825
                                    Detroit, MI 48226



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    Capitalized terms used but not otherwise defined herein shall have the meanings
    set forth in the Objection.

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       If you mail your Response to the Court for filing, you must mail it early
enough so that it will be received on or before the Objection Deadline stated above.
All attorneys are required to file pleadings electronically.

         A Response should include the below information:

               A.     a caption setting forth the name of the Court, the name of the
                      Trust, the case number, and the title of the Third Omnibus
                      Objection to which the Response is directed;

               B.     the claimant’s name and an explanation for the amount of the
                      Claim;

               C.     a concise statement setting forth the reasons why the Court
                      should not sustain the Third Omnibus Objection, including,
                      without limitation, the specific factual and legal bases upon
                      which the claimant will rely in opposing the Third Omnibus
                      Objection;

               D.     a copy of any other documentation or other evidence of the
                      Claim, to the extent not already included with the Claim, upon
                      which the claimant will rely in opposing the Third Omnibus
                      Objection at the hearing; and

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               E.     the claimant’s name, address, telephone number, and email
                      address and/or the name, address, telephone number and email
                      address of the claimant’s attorney and/or designated
                      representative to whom the attorneys for the Trust should serve
                      a reply to the Response, if any (collectively, the “Notice
                      Addresses”). If a Response contains Notice Addresses that are
                      different from the name and/or address listed on the Claim, the
                      Notice Addresses will control and will become the service
                      address for future service of papers with respect to all of the
                      claimant’s Claims listed in the Third Omnibus Objection
                      (including all Claims to be disallowed and expunged and the
                      surviving Claims).

               2.    Attend the hearing on the objection, scheduled to be held on
         July 20, 2022, at 10:00 a.m. in Courtroom 1825, United States Bankruptcy
         Court, 211 West Fort St., Detroit, MI, unless your attendance is excused by
         mutual agreement between yourself and the objector’s attorney.

      Judge Randon is conducting all conferences and non-evidentiary hearings by
telephone. At least five minutes prior to the scheduled hearing, counsel and parties
should call 1-888-363-4734 and use Access Code 2795304. Please place phone on
mute and wait until your case is called. Once your case is called, please unmute
your phone and participate.

       Unless the matter is disposed of summarily as a matter of law, the hearing
shall be a pre-trial conference only; neither testimony nor other evidence will be
received. A pre-trial scheduling order may be issued as a result of the pre-trial
conference.

      If you or your attorney do not take these steps, the Court may deem that
you do not oppose the objection to your claim, in which event the hearing will
be canceled, and the objection sustained.

       If you have any questions regarding the Third Omnibus Objection and/or if
you wish to obtain a copy of the Third Omnibus Objection or related documents,
you may call the Trust’s claims agent at (866) 223-7306. You may also obtain a
copy of the Third Omnibus Objection or related documents by visiting the Trust’s
restructuring website at www.cases.stretto.com/hfv/.




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Dated: June 17, 2022           By: /s/ Eric E. Walker
                               PERKINS COIE LLP
                               Eric E. Walker, IL Bar No. 6290993
                               Kathleen M. Allare, IL Bar No. 6326536
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                               Chicago, IL 60606
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                               -and-

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                               PLLC
                               James E. Morgan (Fed. Id. No. 90785074)
                               450 West Fourth Street
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                               Counsel for HFV Liquidating Trust




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                                                                                                                  Schedule 1
                                                                                                                Amended Claims


    Claim to be Disallowed                                                                                                                                                    Remaining Claim                                                 Reasoning
    Name of Claimant           Debtor Name                Schedule #   Claim #   Date Filed         Claim Amounts               Name of Claimant         Debtor Name                Claim # Date Filed         Claim Amounts                 for Objection
1   IN RE: RESIDENT ID 20569   Henry Ford Village, Inc.                  25      12/8/2020                Administrative: $0.00 IN RE: RESIDENT ID 20569 Henry Ford Village, Inc.     245     4/6/2021              Administrative: $0.00   Amended Claim
    [NAME REDACTED]                                                                                            Secured: $0.00 [NAME REDACTED]                                                                       Secured: $13,335.98
                                                                                                           Priority: $17,672.00                                                                                           Priority: $0.00
                                                                                                     General Unsecured: $0.00                                                                                  General Unsecured: $0.00

                                                                                                              Total: $17,672.00                                                                                         Total: $13,335.98


2   IN RE: RESIDENT ID 20162   Henry Ford Village, Inc.    2377989      220      3/24/2021                 Administrative: $0.00 ARGO PARTNERS             Henry Ford Village, Inc.    229   3/30/2021              Administrative: $0.00   Amended Claim
    [NAME REDACTED]                                                                                             Secured: $0.00                                                                                           Secured: $0.00
                                                                                                                 Priority: $0.00                                                                                          Priority: $0.00
                                                                                                General Unsecured: $150,052.17                                                                           General Unsecured: $150,052.17

                                                                                                             Total: $150,052.17                                                                                       Total: $150,052.17


3   IN RE: RESIDENT ID 22915   Henry Ford Village, Inc.                 364      11/18/2021                Administrative: $0.00 IN RE: RESIDENT ID 20892 Henry Ford Village, Inc.     410   1/9/2022               Administrative: $0.00   Amended Claim
    [NAME REDACTED]                                                                                             Secured: $0.00 [NAME REDACTED]                                                                           Secured: $0.00
                                                                                                                 Priority: $0.00                                                                                          Priority: $0.00
                                                                                                 General Unsecured: $97,125.00                                                                           General Unsecured: $129,500.00

                                                                                                              Total: $97,125.00                                                                                       Total: $129,500.00


4   IN RE: RESIDENT ID 20237   Henry Ford Village, Inc.                 180       3/1/2021                 Administrative: $0.00 IN RE: RESIDENT ID 20237 Henry Ford Village, Inc.     321   4/22/2021              Administrative: $0.00   Amended Claim
    [NAME REDACTED]                                                                                             Secured: $0.00 [NAME REDACTED]                                                                           Secured: $0.00
                                                                                                                 Priority: $0.00                                                                                      Priority: $3,025.00
                                                                                                General Unsecured: $140,000.00                                                                           General Unsecured: $136,975.00

                                                                                                             Total: $140,000.00                                                                                       Total: $140,000.00



    TOTALS                                                                                                         $404,849.17                                                                                              $432,888.15




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                                                                                                                      Schedule 2
                                                                                                                    Duplicate Claims


    Claim to be Disallowed                                                                                                                                                 Remaining Claim                                                      Reasoning
    Name of Claimant           Debtor Name                Schedule #   Claim #   Date Filed       Claim Amounts                Name of Claimant           Debtor Name               Claim #   Date Filed       Claim Amounts                   for Objection
1   IN RE: RESIDENT ID 22916   Henry Ford Village, Inc.                  365     11/22/2021              Administrative: $0.00 IN RE: RESIDENT ID 21036   Henry Ford Village, Inc.    408      1/6/2022               Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                           Secured: $0.00 [NAME REDACTED]                                                                               Secured: $0.00
                                                                                                               Priority: $0.00                                                                                              Priority: $0.00
                                                                                               General Unsecured: $44,358.89                                                                                General Unsecured: $44,358.89

                                                                                                            Total: $44,358.89                                                                                             Total: $44,358.89


2   IN RE: RESIDENT ID 21924   Henry Ford Village, Inc.                 102      1/29/2021               Administrative: $0.00 IN RE: RESIDENT ID 21963   Henry Ford Village, Inc.    147     2/18/2021               Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                           Secured: $0.00 [NAME REDACTED]                                                                               Secured: $0.00
                                                                                                               Priority: $0.00                                                                                              Priority: $0.00
                                                                                              General Unsecured: $100,000.00                                                                               General Unsecured: $100,000.00

                                                                                                           Total: $100,000.00                                                                                           Total: $100,000.00


3   IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.                 190       3/5/2021               Administrative: $0.00 IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.    193     3/5/2021                Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                           Secured: $0.00 [NAME REDACTED]                                                                               Secured: $0.00
                                                                                                               Priority: $0.00                                                                                              Priority: $0.00
                                                                                               General Unsecured: $78,075.00                                                                                General Unsecured: $78,075.00

                                                                                                            Total: $78,075.00                                                                                             Total: $78,075.00


4   IN RE: RESIDENT ID 22133   Henry Ford Village, Inc.                  66       1/4/2021               Administrative: $0.00 IN RE: RESIDENT ID 22133   Henry Ford Village, Inc.    129     2/15/2021               Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                           Secured: $0.00 [NAME REDACTED]                                                                               Secured: $0.00
                                                                                                               Priority: $0.00                                                                                              Priority: $0.00
                                                                                               General Unsecured: $19,717.80                                                                                General Unsecured: $19,717.80

                                                                                                            Total: $19,717.80                                                                                             Total: $19,717.80



    TOTALS                                                                                                       $242,151.69                                                                                                  $242,151.69




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                                                                                     Schedule 3
                                                                                  No Liability Claims
    Name of Claimant            Debtor Name                Schedule #   Claim #    Date Filed       Current Claim Amounts                Proposed Treatment          Reason for Objection
1   IN RE: RESIDENT ID 21355    Henry Ford Village, Inc.                  310      4/22/2021                  Administrative: $0.00       Disallow & Expunge    No Liability. Trust's records reflect
    [NAME REDACTED]                                                                                                Secured: $0.00                               that Claimant executed the lease
                                                                                                                    Priority: $0.00                             addendum with Purchaser of HFV
                                                                                                    General Unsecured: $46,859.25                              which waived a right to claim against
                                                                                                                                                                               Trust.
                                                                                                                    Total: $46,859.25


2   IN RE: RESIDENT ID 22561    Henry Ford Village, Inc.                 417        3/9/2022                  Administrative: $0.00      Disallow & Expunge      No Liability - Late-Filed and No
    [NAME REDACTED]                                                                                                Secured: $0.00                                      Record of Liability
                                                                                                                    Priority: $0.00
                                                                                                    General Unsecured: $49,000.00

                                                                                                                    Total: $49,000.00


3   IN RE: RESIDENT ID 21934    Henry Ford Village, Inc.                 287        4/19/2021                    Administrative: $0.00   Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                   Secured: $0.00                            review of the Debtor's books and
                                                                                                                   Priority: $3,025.00                              records and the documents
                                                                                                        General Unsecured: $2,651.00                           attached the claim, the Trust has no
                                                                                                                                                                 record of liability asserted by this
                                                                                                                      Total: $5,676.00                                          claim.


4   IN RE: RESIDENT ID 20882    Henry Ford Village, Inc.    2378194                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                   Secured: $0.00                                in a Segregated Account
                                                                                                                       Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                        General Unsecured: $7,899.00

                                                                                                                      Total: $7,899.00


5   IN RE: RESIDENT ID 22950    Henry Ford Village, Inc.    2379685      379       12/17/2021                 Administrative: $0.00      Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                Secured: $0.00                               review of the Debtor's books and
                                                                                                                    Priority: $0.00                                 records and the documents
                                                                                                   General Unsecured: $120,000.00                              attached the claim, the Trust has no
                                                                                                                                                                 record of liability asserted by this
                                                                                                                   Total: $120,000.00                                           claim.


6   IN RE: RESIDENT ID 21537    Henry Ford Village, Inc.    2378261                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                   Secured: $0.00                                in a Segregated Account
                                                                                                                       Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                        General Unsecured: $1,000.00

                                                                                                                      Total: $1,000.00




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                                                                                     Schedule 3
                                                                                  No Liability Claims
    Name of Claimant            Debtor Name                Schedule #   Claim #    Date Filed       Current Claim Amounts                Proposed Treatment          Reason for Objection
7   IN RE: RESIDENT ID 22964    Henry Ford Village, Inc.                  411      1/14/2022                  Administrative: $0.00       Disallow & Expunge   No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                 Secured: $0.00                                  in a Segregated Account
                                                                                                                 Priority: $3,025.00                            Transferred to Purchaser of HFV
                                                                                                       General Unsecured: $998.00

                                                                                                                      Total: $4,023.00


8   IN RE: RESIDENT ID 21934    Henry Ford Village, Inc.                 260        4/11/2021                    Administrative: $0.00   Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                   Secured: $0.00                            review of the Debtor's books and
                                                                                                                   Priority: $3,025.00                              records and the documents
                                                                                                        General Unsecured: $2,651.00                           attached the claim, the Trust has no
                                                                                                                                                                 record of liability asserted by this
                                                                                                                      Total: $5,676.00                                          claim.


9   IN RE: RESIDENT ID 21539    Henry Ford Village, Inc.    2378268                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                   Secured: $0.00                                in a Segregated Account
                                                                                                                       Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                        General Unsecured: $1,000.00

                                                                                                                      Total: $1,000.00


10 IN RE: RESIDENT ID 21963     Henry Ford Village, Inc.                 147        2/18/2021                 Administrative: $0.00      Disallow & Expunge     No Liability. Claim is the surviving
   [NAME REDACTED]                                                                                                 Secured: $0.00                              claim of duplicate claim 102. Claim
                                                                                                                    Priority: $0.00                            147 arises from disputed prepetition
                                                                                                   General Unsecured: $100,000.00                                             litigation.

                                                                                                                   Total: $100,000.00


11 IN RE: RESIDENT ID 22389     Henry Ford Village, Inc.    2379764                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                    Secured: $0.00                                in a Segregated Account
                                                                                                                       Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                        General Unsecured: $3,496.00

                                                                                                                      Total: $3,496.00


12 IN RE: RESIDENT ID 21222     Henry Ford Village, Inc.    2379777      386       12/21/2021                    Administrative: $0.00   Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                    Secured: $0.00                            that Claimant executed the lease
                                                                                                                   Priority: $3,025.00                          addendum with Purchaser of HFV
                                                                                                        General Unsecured: $3,597.89                           which waived a right to claim against
                                                                                                                                                                               Trust.
                                                                                                                      Total: $6,622.89




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                                                                                    Schedule 3
                                                                                 No Liability Claims
   Name of Claimant            Debtor Name                Schedule #   Claim #    Date Filed       Current Claim Amounts                Proposed Treatment          Reason for Objection
13 IN RE: RESIDENT ID 21534    Henry Ford Village, Inc.    2380045                                           Administrative: $0.00       Disallow & Expunge   No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                Secured: $0.00                                   in a Segregated Account
                                                                                                                   Priority: $0.00                             Transferred to Purchaser of HFV
                                                                                                    General Unsecured: $3,496.00

                                                                                                                     Total: $3,496.00


14 IN RE: RESIDENT ID 22401    Henry Ford Village, Inc.                 336        7/1/2021                  Administrative: $0.00      Disallow & Expunge       No Liability – Not the Named
   [NAME REDACTED]                                                                                                Secured: $0.00                                 Beneficiary Under Residency
                                                                                                                   Priority: $0.00                                        Agreement
                                                                                                  General Unsecured: $104,975.80

                                                                                                                  Total: $104,975.80


15 IN RE: RESIDENT ID 20429    Henry Ford Village, Inc.    2379945      377        2/10/2021                 Administrative: $0.00      Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                Secured: $0.00                               that Claimant executed the lease
                                                                                                                   Priority: $0.00                             addendum with Purchaser of HFV
                                                                                                   General Unsecured: $93,000.00                              which waived a right to claim against
                                                                                                                                                                              Trust.
                                                                                                                   Total: $93,000.00


16 IN RE: RESIDENT ID 22094    Henry Ford Village, Inc.    2377942                                             Administrative: $0.00    Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                  Secured: $0.00                             that Claimant executed the lease
                                                                                                                     Priority: $0.00                           addendum with Purchaser of HFV
                                                                                                        General Unsecured: $977.97                            which waived a right to claim against
                                                                                                                                                                              Trust.
                                                                                                                      Total: $977.97


17 IN RE: RESIDENT ID 21542    Henry Ford Village, Inc.    2378290                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                   Secured: $0.00                                in a Segregated Account
                                                                                                                      Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                       General Unsecured: $1,000.00

                                                                                                                     Total: $1,000.00



   TOTALS                                                                                                               $554,701.91




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                                                                                  Claims to be Modified

    Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
1   IN RE: RESIDENT ID 21277   Henry Ford Village, Inc.                   128     2/15/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $110,500.00      General Unsecured: $45,490.00

                                                                                                             Total: $110,500.00                   Total: $45,490.00


2   IN RE: RESIDENT ID 22603   Henry Ford Village, Inc.     2379731       405     1/5/2022                Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                          Priority: $548,000.00                     Priority: $0.00
                                                                                                      General Unsecured: $0.00     General Unsecured: $129,000.00

                                                                                                             Total: $548,000.00                 Total: $129,000.00



3   IN RE: RESIDENT ID 20328   Henry Ford Village, Inc.                   174     3/2/2021                 Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $143,975.00     General Unsecured: $132,000.00

                                                                                                             Total: $147,000.00                 Total: $132,000.00



4   IN RE: RESIDENT ID 21646   Henry Ford Village, Inc.                   242     4/5/2021                 Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $139,032.45     General Unsecured: $142,057.45

                                                                                                             Total: $142,057.45                 Total: $142,057.45



5   IN RE: RESIDENT ID 21815   Henry Ford Village, Inc.     2378241       146     2/18/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                 General Unsecured: $99,000.00      General Unsecured: $91,080.00

                                                                                                               Total: $99,000.00                  Total: $91,080.00


6   IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.     2378269       193     3/5/2021                 Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                 General Unsecured: $78,075.00      General Unsecured: $76,765.00

                                                                                                               Total: $78,075.00                  Total: $76,765.00




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                                                                                  Claims to be Modified

    Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
7   IN RE: RESIDENT ID 20397   Henry Ford Village, Inc.                   62      12/23/2020               Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $143,575.00     General Unsecured: $146,600.00

                                                                                                             Total: $146,600.00                 Total: $146,600.00



8   IN RE: RESIDENT ID         Henry Ford Village, Inc.                   182      3/1/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                    General Unsecured: $239.00       General Unsecured: $3,264.00

                                                                                                                Total: $3,264.00                   Total: $3,264.00


9   IN RE: RESIDENT ID 20237   Henry Ford Village, Inc.                   321     4/22/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $136,975.00     General Unsecured: $132,581.14

                                                                                                             Total: $140,000.00                 Total: $132,581.14



10 IN RE: RESIDENT ID 20892    Henry Ford Village, Inc.     2379546       410      1/9/2022                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $129,500.00     General Unsecured: $124,346.00

                                                                                                             Total: $129,500.00                 Total: $124,346.00



11 IN RE: RESIDENT ID 22206    Henry Ford Village, Inc.     2377968       284     4/19/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                 General Unsecured: $56,725.00      General Unsecured: $22,048.84

                                                                                                               Total: $59,750.00                  Total: $22,048.84


12 IN RE: RESIDENT ID 22232    Henry Ford Village, Inc.                   241      4/5/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $175,975.00     General Unsecured: $149,767.08

                                                                                                             Total: $179,000.00                 Total: $149,767.08




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                                                                                 Claims to be Modified

   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
13 IN RE: RESIDENT ID 20942   Henry Ford Village, Inc.     2378205       393     12/28/2021              Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $1,458.00        General Unsecured: $4,483.00

                                                                                                               Total: $4,483.00                   Total: $4,483.00


14 IN RE: RESIDENT ID 20977   Henry Ford Village, Inc.                   307     4/21/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $130,000.00     General Unsecured: $129,778.14

                                                                                                            Total: $130,000.00                 Total: $129,778.14



15 IN RE: RESIDENT ID 20197   Henry Ford Village, Inc.                   34      12/8/2020                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $233,000.00     General Unsecured: $207,509.45

                                                                                                            Total: $233,000.00                 Total: $207,509.45



16 IN RE: RESIDENT ID 20305   Henry Ford Village, Inc.                   201      3/4/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $146,950.00     General Unsecured: $138,271.32

                                                                                                            Total: $146,950.00                 Total: $138,271.32



17 IN RE: RESIDENT ID 21036   Henry Ford Village, Inc.     2379652       408      1/6/2022                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $44,358.89      General Unsecured: $41,914.28

                                                                                                              Total: $44,358.89                  Total: $41,914.28


18 IN RE: RESIDENT ID 20569   Henry Ford Village, Inc.                   245      4/6/2021               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                       Secured: $13,335.98                      Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                                     General Unsecured: $0.00      General Unsecured: $17,441.60

                                                                                                              Total: $13,335.98                  Total: $17,441.60




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                                                                                 Claims to be Modified

   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
19 IN RE: RESIDENT ID 21145   Henry Ford Village, Inc.     2379769       390     12/27/2021              Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                               General Unsecured: $96,975.00      General Unsecured: $100,000.00

                                                                                                            Total: $100,000.00                 Total: $100,000.00



20 IN RE: RESIDENT ID 22251   Henry Ford Village, Inc.                   312     4/20/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $84,000.00      General Unsecured: $78,070.44

                                                                                                              Total: $84,000.00                  Total: $78,070.44


21 IN RE: RESIDENT ID 22961   Henry Ford Village, Inc.                   407      1/6/2022                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $69,837.50      General Unsecured: $46,015.00

                                                                                                              Total: $72,862.50                  Total: $46,015.00


22 IN RE: RESIDENT ID 20064   Henry Ford Village, Inc.                   166     2/26/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $152,250.00     General Unsecured: $152,000.00

                                                                                                            Total: $152,250.00                 Total: $152,000.00



23 IN RE: RESIDENT ID 21540   Henry Ford Village, Inc.     2380040       416     1/19/2022               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                            Priority: $1,000.00                    Priority: $0.00
                                                                                                     General Unsecured: $0.00       General Unsecured: $1,000.00

                                                                                                               Total: $1,000.00                   Total: $1,000.00


24 IN RE: RESIDENT ID 21194   Henry Ford Village, Inc.                   326     4/30/2021               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                         Priority: $159,000.00                     Priority: $0.00
                                                                                                     General Unsecured: $0.00     General Unsecured: $159,000.00

                                                                                                            Total: $159,000.00                 Total: $159,000.00




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                                                                                 Claims to be Modified

   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts                 Proposed Claim Amounts              Reason for Objection
25 IN RE: RESIDENT ID 20323   Henry Ford Village, Inc.                   226     3/25/2021               Administrative: $0.00                 Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                            Secured: $0.00                       Secured: $0.00      Debtor's Books and Records
                                                                                                               Priority: $0.00                       Priority: $0.00
                                                                                               General Unsecured: $85,000.00          General Unsecured: $9,802.21

                                                                                                              Total: $85,000.00                     Total: $9,802.21


26 IN RE: RESIDENT ID 20427   Henry Ford Village, Inc.                   277     4/19/2021                Administrative: $0.00                Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                       Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                      Priority: $0.00
                                                                                               General Unsecured: $128,975.00       General Unsecured: $120,152.74

                                                                                                             Total: $132,000.00                  Total: $120,152.74



27 IN RE: RESIDENT ID 20477   Henry Ford Village, Inc.                   234     3/31/2021                Administrative: $0.00                Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                       Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                      Priority: $0.00
                                                                                               General Unsecured: $176,056.00       General Unsecured: $178,485.67

                                                                                                             Total: $179,081.00                  Total: $178,485.67



28 IN RE: RESIDENT ID 21951   Henry Ford Village, Inc.                   320     4/22/2021          Administrative: $133,000.00                Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                               Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                  Priority: $0.00                    Priority: $0.00
                                                                                                     General Unsecured: $0.00       General Unsecured: $133,000.00

                                                                                                             Total: $133,000.00                  Total: $133,000.00



29 IN RE: RESIDENT ID 20253   Henry Ford Village, Inc.                   74      1/11/2021                Administrative: $0.00                Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                       Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                      Priority: $0.00
                                                                                               General Unsecured: $139,310.07       General Unsecured: $138,868.73

                                                                                                             Total: $139,310.07                  Total: $138,868.73



30 IN RE: RESIDENT ID 22138   Henry Ford Village, Inc.                   48      12/18/2020               Administrative: $0.00                Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                       Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                      Priority: $0.00
                                                                                               General Unsecured: $118,551.00        General Unsecured: $79,596.00

                                                                                                             Total: $118,551.00                    Total: $79,596.00




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   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts              Proposed Claim Amounts              Reason for Objection
31 IN RE: RESIDENT ID 21686   Henry Ford Village, Inc.                   136     2/16/2021                Administrative: $0.00             Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                   Priority: $0.00
                                                                                               General Unsecured: $103,975.00     General Unsecured: $42,279.66

                                                                                                            Total: $107,000.00                  Total: $42,279.66



   TOTALS                                                                                                        $3,817,928.89                     $2,972,667.75




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